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                                       WRITTEN CONSENT
                                    OF THE SOLE MEMBER OF
                                    AERO COMPONENTS, LLC
                                         February 4, 2022

       The undersigned, being the sole member (the “Member”) of Aero Components, LLC, a
Delaware limited liability company (the “Company”), hereby adopts the following resolutions by
written consent in lieu of a special meeting and hereby consents to, approves and adopts the
following resolutions as of the date written above:

          WHEREAS, the Member reviewed the materials presented by the management
          and legal advisers of the Company regarding the liabilities and liquidity situation
          of the Company, the strategic alternatives available to the Company, and the impact
          of the foregoing on the Company’s business; and

          WHEREAS, the Member has had the opportunity to consult with the management
          and legal advisers of the Company and fully consider each of the strategic
          alternatives available to the Company.

 I.       VOLUNTARY PETITION UNDER CHAPTER 11 OF TITLE 11 OF THE
          UNITED STATES CODE

          NOW, THEREFORE, IT IS RESOLVED, that, in the judgment of the Member,
          it is desirable and in the best interests of the Company, its creditors, stockholders,
          and other parties in interest, that the Company file or cause to be filed voluntary
          petitions for relief under the provisions of chapter 11 of title 11 of the United States
          Code;

          FURTHER RESOLVED, that each of the Chief Executive Officer, President,
          Chief Financial Officer, and such other officers as may be designated by the
          Member (collectively, the “Authorized Officers”), acting alone or with one or more
          other Authorized Officers, be, and hereby is, authorized and empowered to execute
          and file on behalf of the Company all petitions, schedules, lists and other papers or
          documents, and to take any and all action that they deem necessary or proper to
          obtain such relief;

          FURTHER RESOLVED, that each of the Authorized Officers, acting alone or
          with one or more other Authorized Officers, be, and hereby is, authorized and
          directed to continue to employ the law firm of Winston & Strawn, LLP as general
          bankruptcy counsel to represent and assist the Company in carrying out its duties
          under title 11 of the United States Code, and to take any and all actions to advance
          the Company’s rights and obligations, including filing any pleadings; and in
          connection therewith, each of the Authorized Officers, acting alone or with one or
          more other Authorized Officers, be, and hereby is, authorized and directed to
          execute appropriate retention agreements, pay appropriate retainers prior to and
          immediately upon filing of the chapter 11 case, and to cause to be filed an
          appropriate application for authority to retain the services of Winston & Strawn,
          LLP;


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          FURTHER RESOLVED, that each of the Authorized Officers, acting alone or
          with one or more other Authorized Officers, be, and hereby is, authorized and
          directed to employ the financial advisory firm of Alvarez and Marsal North
          America, LLC ( “Alvarez and Marsal”) as financial advisor to assist the Company
          in carrying out its duties under title 11 of the United States Code, and to take any
          and all actions to advance the Company’s rights and obligations; and in connection
          therewith, each of the Authorized Officers, acting alone or with one or more other
          Authorized Officers, be, and hereby is, authorized and directed to execute
          appropriate retention agreements, pay appropriate retainers prior to and
          immediately upon the filing of the chapter 11 case, to cause to be filed appropriate
          applications for authority to retain the services of Alvarez and Marsal;

          FURTHER RESOLVED, that each of the Authorized Officers, acting alone or
          with one or more other Authorized Officers, be, and hereby is, authorized and
          directed to employ Bankruptcy Management Solutions, Inc. d/b/a Stretto
          (“Stretto”) as notice and claims agent to represent and assist the Company in
          carrying out its duties under title 11 of the United States Code, and to take any and
          all actions to advance the Company’s rights and obligations; and in connection
          therewith, each of the Authorized Officers, acting alone or with one or more other
          Authorized Officers, be, and hereby is, authorized and directed to execute
          appropriate retention agreements, pay appropriate retainers prior to and
          immediately upon the filing of the chapter 11 case, and to cause to be filed
          appropriate applications for authority to retain the services of Stretto; and

          FURTHER RESOLVED, that each of the Authorized Officers, acting alone or
          with one or more other Authorized Officers, be, and hereby is, authorized and
          directed to employ any other professionals to assist the Company in carrying out its
          duties under title 11 of the United States Code; and in connection therewith, each
          of the Authorized Officers, acting alone or with one or more other Authorized
          Officers, be, and hereby is, authorized and directed to execute appropriate retention
          agreements, pay appropriate retainers prior to or immediately upon the filing of the
          chapter 11 case and to cause to be filed an appropriate application for authority to
          retain the services of any other professionals as necessary.

 II.      GENERAL

          NOW, THEREFORE, IT IS RESOLVED, that each of the Authorized Officers
          shall be, and each of them hereby is, authorized and directed, in the name of and on
          behalf of the Company, to take any and all such actions and to execute and deliver
          any and all such documents and instruments as the Member of the Company shall
          deem necessary or advisable in furtherance of, or to carry out the intent and
          effectuate the purposes of, any of the foregoing resolutions, and the fact that the
          Member of the Company has taken any such action or executed or delivered any
          such document or instrument shall be conclusive evidence of the approval and
          authorization thereof by the Company;

          FURTHER RESOLVED, that any and all actions heretofore, concurrently, or
          hereafter taken by the Member of the Company in connection with the matters
          contemplated by the foregoing resolutions be, and they hereby are, approved,
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          ratified and confirmed in all respects as fully as if such had been presented to the
          Member for approval prior to such action or actions being taken;

          FURTHER RESOLVED, that the actions taken by this written consent shall have
          the same force and effect as if taken by the undersigned at a meeting, duly called
          and constituted in accordance with the bylaws of the Company;

          FURTHER RESOLVED, that any and all notice of any meeting otherwise
          required regarding these resolutions or the matters covered hereby is hereby waived
          in all respects; and

          FURTHER RESOLVED, that this consent may be sent or delivered by facsimile
          or other electronic transmission and in any number of counterparts, each of which
          shall be an original, and such counterparts, when taken together, shall constitute
          one and same instrument, and shall be legally effective for all purposes.


                                       [Signature Page Follows]




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